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 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     ANTHONY MONTANO
 6
 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )        Case No. 2:10-CR-477 LKK
                                     )
13                  Plaintiff,       )
                                     )        STIPULATION AND ORDER TO CONTINUE
14        v.                         )        STATUS CONFERENCE TO MARCH 20,
                                     )        2012
15   LONNIE TERRELL, ANTHONY         )
     MONTANO, ALEX LINDBERG, JEREMY )         Date: January 10, 2012
16   TERRELL, NICHOLAS ROMAN, and    )        Time: 9:15 a.m.
     RUTH JIMENEZ,                   )        Judge: Hon. Lawrence K. Karlton
17                                   )
                    Defendants.      )
18                                   )
     _______________________________ )
19
20         IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
21   of   America,   and    defendants,   LONNIE   TERRELL,   ANTHONY    MONTANO,   ALEX
22   LINDBERG, JEREMY TERRELL, NICHOLAS ROMAN, and RUTH JIMENEZ, through their
23   respective attorneys, that the Court should vacate the status conference
24   scheduled for January 10, 2012, at 9:15 a.m., and reset it for March 20,
25   2012, at 9:15 a.m.
26         Counsel for defendants require further time to review discovery and
27   to negotiate with the government in an effort to resolve this matter.
28   / / /
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 1         It is further stipulated by the parties that the Court should
 2   exclude the period from the date of this order through March 20, 2012,
 3   when it computes the time within which the trial of the above criminal
 4   prosecution must commence for purposes of the Speedy Trial Act.            The
 5   parties stipulate that the ends of justice served by granting defendants’
 6   request for a continuance outweigh the best interest of the public and
 7   the defendants’ in a speedy trial, and that this is an appropriate
 8   exclusion of time for defense preparation within the meaning of 18 U.S.C.
 9   § 3161(h)(7)(A) and (B) (Local Code T4).
10   Dated: January 5, 2012                  Respectfully submitted,
11                                           DANIEL BRODERICK
                                             Federal Defender
12
                                             /s/ M. Petrik
13
                                             MICHAEL PETRIK, Jr.
14                                           Assistant Federal Defender
                                             Attorney for Anthony Montano
15
16   Dated: January 5, 2012                  /s/ M. Petrik for David Dratment
                                             DAVID DRATMAN
17                                           Attorney for Lonnie Terrell
18
19   Dated: January 5, 2012                  /s/ M. Petrik for Ronald Peters
                                             RONALD PETERS
20                                           Attorney for Alex Lindberg
21
22   Dated: January 5, 2012                  /s/ M. Petrik for Daniel Schultz
                                             DANIEL SCHULTZ
23                                           Attorney for Jeremy Terrell
24
25   Dated: January 5, 2012                  /s/ M. Petrik for Lisa Meier
                                             LISA MEIER
26                                           Attorney for Nicholas Roman
27
28


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 1   Dated: January 5, 2012                  /s/ M. Petrik for Kelly Babineau
                                             KELLY BABINEAU
 2                                           Attorney for Ruth Jimenez
 3
     Dated: January 5, 2012                  BENJAMIN B. WAGNER
 4                                           United States Attorney
 5                                           /s/ M. Petrik for M. Anderson
 6                                           MICHAEL ANDERSON
                                             Assistant U.S. Attorney
 7
 8
 9                                         ORDER
10         Based on the reasons set forth in the stipulation of the parties,
11   and good cause appearing therefrom, the Court adopts the stipulation of
12   the parties in its entirety.          IT IS HEREBY ORDERED that the status
13   conference currently scheduled for Tuesday, January 10, 2012, be vacated
14   and that the case be set for Tuesday, March 20, 2012, at 9:15 a.m.         The
15   Court Specifically finds that the ends of justice served by granting of
16   such a continuance outweigh the interest of the public and the defendants
17   in a speedy trial.      The Court orders time excluded from the date of this
18   order through the status conference on March 20, 2012, pursuant to 18
19   U.S.C. § 3161(h)(7)(A) and (B) (Local Code T4).
20
21   DATED: January 9, 2012
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     Stipulation and Order                  -3-
